      Case 4:20-cv-04281 Document 13 Filed on 05/04/21 in TXSD Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DEUTSCHE BANK NATIONAL TRUST                    §
COMPANY, AS TRUSTEE FOR                         §
AMERIQUEST MORTGAGE                             §
SECURITIES INC., ASSET-BACKED                   §           Civil Action No. 4:20-cv-4281
PASS-THROUGH CERTIFICATES                       §
SERIES 2005-R5                                  §
                                                §
       Plaintiff,                               §
v.                                              §
                                                §
CARLTON J. WALKER                               §
                                                §
     Defendant.                                 §

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage

Securities Inc., Asset-Backed Pass-Through Certificates Series 2005-R5 (“Deutsche” or

“Plaintiff”) filed this Notice of Voluntary Dismissal (“Notice”) pursuant to Rule 41 of the Federal

Rules of Civil Procedure, and shows the Court as follows:

       1.      On December 16, 2020, Deutsche filed its Original Complaint (“Complaint”)

against Defendant Carlton J. Walker (“Defendant”) to obtain an order authorizing foreclosure of

Plaintiff’s security interest on the real property located at 702 Shiremeadow Dr., Missouri City,

Texas 77489. (ECF No. 1.)

       2.      Defendant was served on January 4, 2021. (ECF No. 7.) Defendant have not

answered or otherwise appeared in this action yet. (ECF No. 9.) On April 8, 2021, Plaintiff filed

a Motion to Abate the case due to a foreclosure hold placed in the loan instituted by the Federal

Emergency Management Administration (“FEMA”) and the Department of Housing and Urban

Development (“DUH”). (ECF No. 10.)



PLAINTIFF’S NOTICE FOR VOLUNTARY DISMISSAL                                                  PAGE 1
MWZM: 14-003298-670
      Case 4:20-cv-04281 Document 13 Filed on 05/04/21 in TXSD Page 2 of 2




       3.      Plaintiff no longer wishes to pursue this claim for judicial foreclosure against

Defendant. Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal Rules

of Civil Procedure. Plaintiff files this Notice before Defendant filed an answer or motion for

summary judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein

against Defendant without prejudice to the re-filing of the same.

       4.      Plaintiff’s claims are the only claims pending in this case, so dismissal will

dispose of all parties and all claims, and the Defendant will not be prejudiced.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the Plaintiff’s

claims against Defendant be dismissed without prejudice, that no prejudice attach to such

dismissal, and that Plaintiff be awarded all other relief to which Plaintiff may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Vivian N. Lopez
                                                       MARK D. CRONENWETT
                                                       Texas Bar No. 00787303
                                                       mcronenwett@mwzmlaw.com

                                                        VIVIAN N. LOPEZ
                                                        Texas Bar. No. 20818-PR
                                                        vlopez@mwzmlaw.com

                                                   MACKIE WOLF ZIENTZ & MANN, P. C.
                                                   14160 North Dallas Parkway, Suite 900
                                                   Dallas, TX 75254
                                                   Telephone: 214-635-2650
                                                   Facsimile: 214-635-2686

                                                   ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S NOTICE FOR VOLUNTARY DISMISSAL                                                      PAGE 2
MWZM: 14-003298-670
